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 6                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 7                                SAN FRANCISCO-OAKLAND DIVISION
 8
 9   AMERICAN CIVIL LIBERTIES UNION
     FOUNDATION, et al.,                            Case No. 19-CV-00290-EMC
10
                    Plaintiffs,                     JOINT CASE MANAGEMENT
11                                                  STATEMENT
            v.
12
     DEPARTMENT OF JUSTICE, et al.,
13
14                  Defendants.

15
16
            The parties jointly submit this Case Management Statement and Proposed Order pursuant
17
     to Civil Local Rule 16-9 and the Standing Order for All Judges of the Northern District of
18
     California—Contents of Joint Case Management Statement.
19
     1. Jurisdiction & Service
20
            Plaintiffs brought this action under the Freedom of Information Act (FOIA), 5 U.S.C.
21
     § 552(a)(4)(B) and 28 U.S.C. § 1331. All parties have been served, and there are no issues
22
     concerning personal jurisdiction.
23
     2. Facts
24
            On May 24, 2018, the American Civil Liberties Union Foundation and American Civil
25
     Liberties Union Foundation of Northern California (together, the “ACLU”) submitted a FOIA
26
     request (the “Request”) to the submitted a FOIA request (the “Request”) to the Department of
27
     Justice (DOJ), the Federal Bureau of Investigation (FBI), the Department of Homeland Security
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 1   (DHS), U.S. Customs and Border Protection (CBP), U.S. Citizenship and Immigration Services

 2   (CIS), U.S. Immigration and Customs Enforcement (ICE), and the Department of State (State

 3   Department) seeking the release of records related to the surveillance and monitoring of social

 4   media users and speech. The ACLU has not yet received any releases of records in response to

 5   the Request.

 6          On January 17, 2019, the ACLU filed this lawsuit.

 7          Defendants filed their Answer on March 25, 2019. ECF No. 18.

 8   3. Legal Issues

 9          At this juncture, this lawsuit raises several legal issues under FOIA:

10               •   Whether Defendants have conducted an adequate search for records responsive to
                     the Request. See 5 U.S.C. § 552(a)(3);
11
                 •   Whether Defendants have processed the Request expeditiously and as soon as
12                   practicable. See id. § 552(a)(6)(E);
13               •   Whether Defendants have promptly made available the records sought by the
14                   Request. See id. § 552(a)(6)(A);

15               •   With respect to certain Defendants, whether Plaintiffs failed to properly exhaust
                     administrative remedies because their FOIA request does not reasonably describe
16                   the records sought. See id. § 552(a)(3)(A).
17               •   In addition, the parties have agreed that, to the extent Defendants withhold or
                     redact responsive records, the parties may litigate, in this suit, whether such
18
                     withholdings or redactions are permissible under FOIA. See id. § 552(b).
19
     4. Motions
20
            There are no prior or pending motions. The parties anticipate that, if the matter is not
21
     resolved through negotiations between the parties, it can ultimately be resolved on summary
22
     judgment.
23
     5. Amendment of Pleadings
24
            No party anticipates amending its pleadings.
25
     6. Evidence Preservation
26
            The parties acknowledge their duty to preserve relevant materials in accordance with
27
     rules and case law applicable to FOIA actions.
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 1   7. Disclosures

 2            The parties agree and stipulate pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)

 3   that initial disclosures are not necessary, as this is a FOIA action for which there is no need to

 4   exchange such disclosures.

 5   8. Discovery

 6            To date, no discovery has been taken by any party. Defendants note that discovery is

 7   generally not appropriate in FOIA actions. See Lane v. Dep’t of Interior, 523 F.3d 1128, 1134

 8   (9th Cir. 2008) (stating that in FOIA “cases courts may allow the government to move for

 9   summary judgment before the plaintiff conducts discovery”). Plaintiffs do not currently

10   anticipate propounding discovery, but Plaintiffs note that discovery may be appropriate in certain

11   circumstances and reserve the right to seek discovery. See, e.g., Carney v. DOJ, 19 F.3d 807,

12   812-13 (2d Cir. 1994) (discovery appropriate where a party has provided “some tangible

13   evidence that an exemption claimed by the agency should not apply or summary judgment is

14   otherwise inappropriate”).

15   9. Class Actions

16            This is not a class action.

17   10. Related Cases

18            Counsel for the parties are unaware of any related cases before another judge of this

19   Court.

20   11. Relief

21            Plaintiffs seek the relief set forth in their Prayer for Relief. See Compl., ECF No. 1 at 10.

22   12. Settlement and ADR

23            This case has been assigned to the Alternative Dispute Resolution (ADR) Multi-Option

24   Program. ECF No. 7. The parties have conferred about ADR processes in conformance with

25   ADR L.R. 3-5. The parties respectfully submit that this case is not well-suited to ADR

26   resolution, and that ADR is not likely to increase the likelihood of resolving this matter. The

27   parties therefore request that the Court exempt this case from ADR.

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 1   13. Consent to Magistrate Judge For All Purposes

 2          Plaintiffs consented to assignment of this case to a magistrate judge for all purposes.

 3   Defendants declined.

 4   14. Other References

 5          The parties agree that this case is not suitable for reference to binding arbitration or a

 6   special master, or reference to the Judicial Panel on Multidistrict Litigation.

 7   15. Narrowing of Issues

 8          The parties have conferred, and intend to continue conferring, in an effort to reach

 9   agreement regarding the scope of the Request and Defendants’ processing and production of

10   responsive documents.

11   16. Expedited Trial Procedure

12          The parties anticipate that this case, as a FOIA matter, can be resolved on summary

13   judgment. The expedited trial procedure is therefore inapplicable.

14   17. Scheduling

15          The parties have conferred regarding Defendants’ processing of the Request and

16   production of responsive records. Specifically, the parties are in the process of negotiating the

17   scope of the Request vis-à-vis the State Department and DOJ’s Office of Information Policy

18   (“OIP”), which is processing the Request submitted to DOJ. The parties may engage in similar

19   discussions regarding the scope of the Request vis-à-vis DHS.

20          Regarding the processing of the Request, Defendants state: CBP, ICE, and USCIS have

21   begun processing the Request. ICE anticipates that it will issue an interim response by May 24,

22   2019, followed by monthly rolling responses that will be complete by September 24, 2019. CBP

23   anticipates that it will issue a first interim response to the Request by June 15, 2019, and that it

24   will provide a second response, and a schedule for any further rolling responses, by July 15,

25   2019. USCIS has completed its search in response to the Request, but is currently transitioning to

26   a new system for FOIA records processing, which is delaying final processing of the records

27   located in its search. USCIS anticipates that it will be able to provide an update on anticipated

28   processing time in the near future. The FBI is processing the Request and anticipates that it will
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 1   be able to inform Plaintiffs by May 15 of a date by which it will be able to provide a final

 2   response with respect to at least some portions of the Request.

 3          Plaintiffs reserve the right to request that the Court set a deadline for completion of

 4   Defendants’ processing and production of responsive records.

 5          The parties propose that they submit a joint status report updating the Court on the

 6   progress of the parties’ negotiations, and the Defendants’ processing of responsive documents,

 7   no later than June 3, 2019.

 8   18. Trial

 9          The parties anticipate that this entire case will be resolved on summary judgment, if the

10   parties do not reach a negotiated resolution.

11   19. Disclosure of Non-party Interested Entities or Persons

12          Defendants are government entities that are exempt from filing a certification of

13   Interested Entities or Persons pursuant to Civil L.R. 3-15. As set forth in Plaintiffs’ Civil Local

14   Rule 3-15 statement filed on June 21, 2017, ECF No. 3, counsel for Plaintiffs certify that other

15   than the named parties, there is no such interest to report.

16   20. Professional Conduct

17          The attorneys of record for the parties have reviewed the Guidelines for Professional

18   Conduct for the Northern District of California.

19   21. Other

20          None.

21   //

22   //

23   //

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 1                                     Respectfully submitted,

 2   DATED: April 25, 2019              _/s/Hugh Handeyside_____________
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